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 8                                UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
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11   IN RE: MCKINSEY & CO., INC.                      Case No. 21-md-02996-CRB (SK)
     NATIONAL PRESCRIPTION OPIATE
12   CONSULTANT LITIGATION                            DECLARATION OF PAUL J. GELLER IN
                                                      SUPPORT OF THIRD PARTY PAYOR
13                                                    PLAINTIFFS’ MOTION FOR FINAL
     This Document Relates to:                        APPROVAL OF CLASS ACTION
14                                                    SETTLEMENT, ATTORNEYS’ FEES AND
     ALL THIRD PARTY PAYOR ACTIONS                    EXPENSES, AND CLASS
15                                                    REPRESENTATIVE SERVICE AWARDS
16

17

18          I, Paul J. Geller, declare and state as follows:
19          1.     I am an attorney admitted to practice in the state of Florida, and I have been
20   admitted pro hac vice in this action. I am the managing partner of Robbins Geller Rudman &
21   Dowds LLP’s Boca Raton, Florida office, a founding partner of the firm, a member of the firm’s
22   Executive and Management Committees, and head of the firm’s Consumer Practice Group.
23          2.     I am Interim Settlement Class Counsel in this action, along with Elizabeth J.
24   Cabraser of Lieff Cabraser Heimann & Bernstein LLP and James R. Dugan, II of the Dugan Law
25   Firm APLC. My firm represents Third Party Payor (TPP) Plaintiff BCTGM Atlantic Health &
26   Welfare Fund, a Settlement Class Representative.
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 1               3.    I submit this Declaration in support of TPP Plaintiffs’ Motion for Final Approval

 2   of Class Action Settlement, Attorneys’ Fees and Expenses, and Class Representative Service

 3   Awards (the “Motion”).

 4               4.    This declaration is based upon my personal knowledge unless otherwise indicated.

 5   If called upon to testify as to the matters stated herein, I could and would competently do so.

 6   II.         Settlement History and Notice Plan
 7               5.    Along with TPP Plaintiffs’ Motion for Preliminary Approval of Class Action

 8   Settlement (ECF No. 645), I previously filed a declaration containing information about the

 9   litigation history and notice program (ECF No. 645-1), as well as a supplemental declaration

10   containing additional information about the Settlement Plan of Allocation and notice program

11   (ECF No. 699). Familiarity with those declarations is presumed herein.

12               6.    The TPP Settlement was the product of extensive arm’s-length negotiations. The

13   Settlement was negotiated in live and remote sessions with the ongoing participation and

14   assistance of preeminent mediators Eric Green and Fouad Kurdi, who have unparalleled

15   experience and expertise in the resolution of opioid litigation in both this MDL 2996 and the

16   related Opioids MDL 2804, including the post-liability trial phase settlement of the City and

17   County of San Francisco’s claims, and national settlements with the major pharmacy chain

18   defendants and several manufacturer defendants.

19               7.    On April 8, 2024, the Court granted preliminary approval to TPP Plaintiffs’

20   Motion for Preliminary Approval of Class Action Settlement (“Preliminary Approval Order,”

21   ECF No. 702). The Court appointed myself, Elizabeth Cabraser, and James Dugan as Interim

22   Settlement Class Counsel. The Court also approved A.B. Data, Ltd. as Notice and Claims

23   Administrator for this Settlement.

24   III.        Progress on Court-Approved Notice Program

25               8.    As stated in the attached declaration from A.B. Data representative Eric J. Miller

26   (Exhibit A), A.B. Data timely completed the Court-approved notice program by the notice date

27   of April 15, 2024:

28               9.    Specifically, A.B. Data reports that it implemented the notice program as follows:
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 1                     a.     A.B. Data mailed the Postcard Notice via USPS First-Class Mail to 42,539

 2   entities in A.B. Data’s TPP Database, which entities include insurance companies, self-insured

 3   entities, third-party administrators, and other entities that represent potential TPP Class Members.

 4   In addition, A.B. Data sent 1,553 emails to TPPs and their representatives where email addresses

 5   were available.

 6                     b.     A.B. Data caused digital banner ads to appear on certain industry websites

 7   and caused the notice, formatted as a news release, to be disseminated via PR Newswire.

 8                     c.     A.B. Data established the Settlement website

 9   (www.McKinseyTPPSettlement.com) to assist potential TPP Class Members. The website

10   contains general information regarding this Action and the proposed Settlement and includes

11   links to key Court-filed documents. A.B. Data also established a case-specific, toll-free telephone

12   number with an interactive voice response system and live operators to accommodate potential

13   TPP Class Members with questions about this Action.

14               10.   In my opinion, the Court-approved notice program, as implemented by A.B. Data,

15   satisfies due process and gives ample opportunity for TPPs to decide whether to opt out or object

16   to the Settlement by the June 1, 2024 deadline.

17               11.   Interim Settlement Class Counsel will oversee the completion of the notice

18   program, keep the Settlement website current, and report to the Court on completion of the notice

19   program prior to the Final Approval hearing.

20   IV.         Interim Settlement Class Counsel
21               12.   Throughout this litigation, the vast majority of the work to represent TPP plaintiffs

22   in this case has been performed by three firms: my firm, Lieff Cabraser Heimann & Bernstein

23   LLP, and the Dugan Law Firm APLC. Elizabeth Cabraser was appointed Plaintiffs’ Lead

24   Counsel, and James Dugan and my partner Aelish Baig were appointed to the Plaintiffs’ Steering

25   Committee (PSC) at the outset of this MDL (ECF No. 211). Ms. Cabraser, Mr. Dugan, and I

26   were appointed to serve as Interim Settlement Class Counsel for TPPs (Class Counsel) on April 8,

27   2024 (ECF No. 702).

28               13.   All three Class Counsel have significant experience in TPP litigation, including in
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 1   opioid litigation, and we have undertaken substantial work to prosecute opioid cases against many

 2   defendant groups across both MDL 2804 and this MDL. We have collectively undertaken an

 3   enormous amount of work, effort, and expense in this MDL on behalf of the TPP Settlement

 4   Class, and we will continue to do so through administration of the Settlement and any appeals.

 5   V.          Common Benefit and Hours, Lodestar, and Expenses
 6               14.   For this case, Class Counsel worked entirely on contingency and advanced both

 7   their time and the required expenses. Class Counsel devoted thousands of hours and advanced

 8   whatever expenses were necessary to investigate and successfully resolve this case, all with no

 9   guarantee of reimbursement. In so doing, Class Counsel declined opportunities to work on other

10   cases in order to devote the necessary time, resources, and energy to this case.

11               15.   Class Counsel seek an award of $15.5 million of attorneys’ fees and expenses

12   under Federal Rule of Procedure 23(h), inclusive of the common benefit assessment under PTO 9.

13   This amount constitutes 20% of the $78 million Settlement Amount net of costs for notice,

14   administration, and implementation of the Settlement, estimated at approximately $350,000;

15   expert costs, estimated at approximately $125,000; and combined Settlement Class

16   Representative service awards of $50,000. The fees and expenses amount accounts for TPP class

17   members’ common benefit obligations under PTO 9, including payment under pre-existing

18   contingent fee contracts of counsel specifically authorized to represent individual class members

19   in the claims process, net of the PTO 9 common benefit assessment.

20               16.   Pursuant to PTO 3 (ECF No. 215), each PSC firm, as well as other Participating

21   Counsel authorized by Court-appointed Lead Counsel Elizabeth J. Cabraser to perform common

22   benefit work, submitted monthly time and expense reports to Lead Counsel. Attorneys and staff

23   working at her direction and under her supervision collected these common benefit submissions

24   and have maintained a database of all submitted time and expenses.

25               17.   The information in this Declaration regarding Class Counsel’s time and expenses

26   is taken from time and expense reports and supporting documentation prepared and/or maintained

27   by the firms in the ordinary course of business.

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 1               18.   As of March 31, 2024, the approximate lodestar for Class Counsel (and counsel

 2   who performed duly authorized work specifically for the TPPs in connection with law, briefing,

 3   and settlement) is $22.46 million, having devoted over 35,775 hours to litigating this Action. The

 4   blended average billing rate for the work described above is approximately $630 per hour.

 5               19.   These hourly rates are consistent with hourly rates submitted by Class Counsel to

 6   state and federal courts in other opioid litigation. The rates are set based on periodic analysis of

 7   rates charged by firms performing comparable work both on the plaintiff and defense sides.

 8               20.   The 35,775 hours of work devoted to litigating this Action include work completed

 9   for the common benefit of all Plaintiffs within the MDL as well as specifically the TPP Plaintiffs.

10   The work includes drafting Master Complaints, propounding discovery requests on Defendants,

11   negotiating the scope and parameters of discovery, reviewing hundreds of thousands of

12   documents produced by Defendants, advocating in multiple discovery-related disputes before the

13   Magistrate Judge, and briefing two separate motions to dismiss, among other tasks.

14               21.   These amounts include all time vetted by Lead Counsel from the date of

15   appointment through March 31, 2024, the latest monthly reporting period. I believe the time

16   reflected in the lodestar calculation and the expenses for which payment is sought herein are

17   reasonable and were necessary for the effective and efficient prosecution and resolution of this

18   Action.

19               22.   These figures do not include time spent since March 31, 2024; certain pre-

20   appointment time deemed compensable by the Court; or time attributed solely to work on other

21   case tracks, such as the NAS, School Districts, Subdivisions, and Tribes case tracks.

22               23.   Class Counsel’s combined related expenses to date are also under continued

23   review and, as of March 31, 2024, total approximately $400,000. Such expenses were necessarily

24   incurred in this Action and are routinely charged to clients billed by the hour. The majority of

25   expenses went to document management services required to host the documents produced in

26   discovery, independent experts who were necessary to prosecute the case and effectuate a

27   substantial settlement, and the costs of mediation. All expenses were reasonable and necessary

28   for the prosecution of this Action.
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 1               24.   The recommended allocation of expenses and other deposits into the Common

 2   Benefit Fund from other settlements will be made by Lead Counsel at a future time to equitably

 3   reimburse and compensate all PSC members and others performing duly authorized common

 4   benefit work.

 5               25.   Based on the above numbers, a percentage fee award equal to 20% of the

 6   Settlement Amount would represent a negative multiplier of 0.67 on Class Counsel’s approximate

 7   lodestar. Class Counsel will continue to incur time in seeking Settlement approval and on

 8   implementation efforts should the Settlement be approved. Class Counsel will continue to review

 9   their respective records and submit them to Lead Counsel for review, and will provide additional

10   information regarding time and expenses and rationale for their request in their Reply in support

11   the Motion.

12               26.   Class Counsel will direct the payment of the 7.5% common benefit assessment on

13   the “Gross Monetary Recovery” of this Settlement, unless otherwise ordered, into the “Fee

14   Fund,” as those terms are defined in PTO 9. That assessment will be paid out of any fee award

15   approved by the Court under the instant Settlement.

16   VI.         Settlement Class Representative Service Awards
17               27.   The five Settlement Class Representatives—District Council 37 Benefits Fund

18   Trust; Cleveland Bakers and Teamsters Health & Welfare Fund; BCTGM Atlantic Health &

19   Welfare Fund; International Union of Operating Engineers Stationary Engineers Local 39 Health

20   & Welfare Trust Fund; and Teamsters Local 404 Health Services and Insurance Plan—are

21   plaintiffs in underlying actions centralized in this MDL, and four of them (all but BCTGM) are

22   Named Plaintiffs in the Consolidated Class Action Complaint (TPPs) (ECF No. 299).

23               28.   The Settlement Class Representatives are aligned with the Class in their interest in

24   proving that McKinsey’s collaboration with other opioid industry participants harmed TPPs. The

25   Settlement Class Representatives have demonstrated their adequacy as representatives throughout

26   their participation in this case, from initiating the discovery process to helping to develop the TPP

27   Class notice program. The Settlement Class Representatives understand their duties, have agreed

28   to consider the interests of absent Class members, have reviewed and uniformly endorsed the
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 1   terms of the Settlement, and have protected and will continue to protect the Class’s interests in

 2   overseeing the Settlement, both during its administration and through any appeals.

 3               29.    Each Settlement Class Representative accordingly seeks a $10,000 service award.

 4               I declare under penalty of perjury that the foregoing is true and correct. Executed on April

 5   22, 2024, in Boca Raton, Florida.

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 8                                                             Paul J. Geller
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